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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION


  PHILLIP CALLAIS, ET AL                             CASE NO. 3:24-CV-00122

  VERSUS                                             CIRCUIT JUDGE: CARL E. STEWART
                                                     DISTRICT JUDGES: ROBERT R.
                                                     SUMMERHAYS, DAVID C. JOSEPH

  NANCY LANDRY, ET AL                                MAG. JUDGE KAYLA D. MCCLUSKY

                                    MINUTES OF COURT:
                                   STATUS CONFERENCE
   Date:               March 22, 2024   Presiding: Judges Carl E. Stewart, Robert R. Summerhays
                                        and David C. Joseph
   Court Opened:       10:05 AM         Courtroom Deputy:       Lisa LaCombe/Chrissy Craig
   Court Adjourned:    10:45 AM         Court Reporter:         Zoom Recording
   Statistical Time:   40 Minutes       Courtroom:              Zoom Video Conference
                                      APPEARANCES
   Paul L. Hurd                               For       Phillip Callais, All Plaintiffs
   Edward D. Greim

   John N. Adcock                              For      Press Robinson, All Intervenor
   Adam P. Savitt                                       Plaintiffs
   Daniel Hessel
   Sarah E. Brannon
   T. Alora Thomas
   I. Sara Rohani
   Colin Burke
   Stuart Naifeh
   Kathryn C. Sandasivan
   Victoria Wenger
   Sarah Brannon
   Megan C. Keenan

   Morgan Elizabeth Brungard                   For      State of Louisiana, Intervenor
   Carey T. Jones                                       Defendant
   Brennan Bowen
   Phillip M. Gordon
   Zachary D. Henson
   Jason B. Torchinsky
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   John Carroll Walsh                               For      Nancy Landry, In her official
   Alyssa M. Riggins                                         capacity as Secretary of State,
   Phillip J. Strach                                         Defendant


                                          PROCEEDINGS

  The Court held a Status Conference via Zoom Video Conference.

  The parties discussed ongoing discovery issues and potential pretrial motion practice.

  Bench trial remains set to begin April 8, 2024, at 9:00 a.m. Courtroom 1 in Shreveport.
  The Court will set aside three (3) days for trial.
  Trial will begin promptly at 9:00 a.m. each day and will conclude at 5:30 p.m. or 6:00 p.m, at the
  latest.
  The Court set a Final Pretrial Conference via Zoom Video on April 4, 2024, at 9:00 a.m.
  A Zoom link will be forwarded to all counsel of record.

  Motions in Limine due on or before April 2, 2024.
  Daubert Motions may be filed prior to trial or raised at trial. They will be addressed and ruled on
  during the course of trial.
  Bench books due April 3, 2024, by 12:00 p.m.
  Requests for witnesses to testify remotely shall be filed in the record on or before April 2, 2024.
  Each party will have ten (10) minutes for opening statements.
  Each side will have eight (8) hours to complete their case. Defendant and Intervenors shall
  attempt to agree on an allocation of their time. If those parties are unable to do so, parties are
  instructed to contact the Court who will allocate the time.

  The parties may contact Scott Breite at 318-934-4715 to arrange times to test electronic
  equipment in Shreveport.
